
Hat, Judge,
delivered the opinion of the court:
This is a suit brought by the plaintiff to recover the sum of $138,687.15. This suit is based upon an express contract had between a representative of the plaintiff and Gen. J. Franklin Bell, acting for the Secretary of War. It is conceded that General Bell had authority to contract for the Secretary of War, and the only issues herein involved are the number of feet of track constructed by the plaintiff for the benefit of the United States under the provisions of the contract above referred to. That contract is set out in Finding IV, and it is not necessary to repeat its terms and provisions here.
We have carefully considered the evidence adduced by both parties to this suit and have arrived at what we are of opinion is a fair and reasonable compensation to the plaintiff for the tracks constructed by it for the benefit of the Government under the terms of the contract above referred to.
A judgment will be awarded the plaintiff in the sum of $35,063.64. It is so ordered.
Graham, Judge; Booth, Judge; and Campbell, Chief Justice, concur.
Moss, Judge, took no part in the decision of this case.
